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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN




 RED CLIFF BAND OF LAKE SUPERIOR CHIPPEWA
 INDIANS OF WISCONSIN, BAD RIVER BAND OF
 THE LAKE SUPERIOR TRIBE OF CHIPPEWA
 INDIANS OF THE BAD RIVER RESERVATION,
 LAC COURTE OREILLES BAND OF LAKE SUPERIOR
 CHIPPEWA INDIANS OF WISCONSIN,
 LAC DU FLAMBEAU BAND OF LAKE SUPERIOR
 CHIPPEWA INDIANS OF THE LAC DU FLAMBEAU
 RESERVATION OF WISCONSIN,
                                                                             ORDER
 ST. CROIX CHIPPEWA INDIANS OF WISCONSIN,
 and SOKAOGON CHIPPEWA COMMUNITY,
                                                                         21-cv-597-jdp
                               Plaintiffs,
         v.

 PRESTON D. COLE, FREDERICK PREHN,
 GREGORY KAZMIERSKI, BILL SMITH,
 SHARON ADAMS, WILLIAM BRUINS,
 TERRY HILGENBERG, and MARCY WEST,

                               Defendants.


       On October 29, 2021, the court held an evidentiary hearing on plaintiffs’ motion to

preliminarily enjoin Wisconsin’s fall 2021 wolf hunt. The fall hunt has already been enjoined

by a state court in The Great Lakes Wildlife Alliance et al. v. Wisconsin Natural Resources Board et

al., No. 21-CV-2103 (Dane Cty. Cir. Ct.). In light of the state-court injunction, plaintiffs

cannot show that they would suffer irreparable harm without a federal injunction, and thus I

will deny plaintiffs’ motion without prejudice.

       The parties are directed to inform the court immediately if the state-court injunction is

lifted. Defendants are also directed to inform the court of any changes to the rules governing
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the wolf hunt. Other than the update on the wolf hunt rules, the court has all the information

it needs to issue a prompt ruling on plaintiffs’ motion, should it become necessary.




       Entered November 1, 2021.

                                            BY THE COURT:

                                            /s/
                                            ________________________________________
                                            JAMES D. PETERSON
                                            District Judge




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